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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                  Case No. 19-cv-02710
              Plaintiff,
                                                  Judge Sharon Johnson Coleman
v.
                                                  Magistrate Judge M. David Weisman
HAPPYMOTO, et al.,
              Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendant:

                 Defendant Name                                 Line No.
                 bestledlightstore                                 22


Dated this 25th day of June 2019.          Respectfully submitted,


                                           /s/ Justin R. Gaudio
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                                           Justin R. Gaudio
                                           RiKaleigh C. Johnson
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